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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


UNITED STATES OF AMERICA               )
                                       )
                                       )
      v.                               )      Case No. 1:06-CR-00058-JAW-5
                                       )
                                       )
RAYMOND FOGG                           )
                                       )


                              ORDER ON REMAND

      The Court concludes that the mandate of the First Circuit requires it to enter

a final order of forfeiture against the Defendant without additional proceedings.

I.    STATEMENT OF FACTS

      On June 18, 2008, a jury found Raymond Fogg guilty of participating in a

drug trafficking conspiracy and of social security fraud. Jury Verdict (Docket #

479). On July 30, 2008, the Court issued a preliminary order of forfeiture against

Raymond Fogg in the total amount of $264,000. Order on Gov’t’s Mot. for a Prelim.

Order of Forfeiture (Docket # 491). On January 14, 2009, the Court sentenced Mr.

Fogg. J. (Docket # 598). At Mr. Fogg’s sentencing hearing, however, the Court

declined to issue the final order of forfeiture based on its mistaken reading of

United States v. Levesque, 546 F.3d 78 (1st Cir. 2008). The Government appealed

and on December 1, 2011, the First Circuit reversed this Court’s decision and

remanded the case for entry of a final order of forfeiture. United States v. Fogg, 666
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F.3d 13 (1st Cir. 2011). The First Circuit mandate was docketed on December 28,

2011. Mandate (Docket # 666).

      On January 23, 2012, the Court held a telephone conference of counsel.

Minute Entry (Docket # 672).       At the conference, the parties disagreed about

whether the Court was required to impose the forfeiture without further hearing or

whether Mr. Fogg was entitled to a hearing on remand. Id.         The parties filed

memoranda supporting their opposing positions. Gov’t’s Mem. Regarding the Order

of Remand (Docket # 673) (Gov’t’s Mem.); Def.’s Resp. to Gov’t’s Br. in Support of

It[]s Position that no Further Hr’g is Required Pursuant to the Remand Order from

the Court of Apps. (Docket # 674) (Def.’s Opp’n).

II.   DISCUSSION

      The First Circuit’s Order on Remand in this case stated:

      We reverse the district court’s decision to decline to issue a final order of
      forfeiture and remand for entry of a final order of forfeiture consistent with
      this opinion.

Fogg, 666 F.3d at 20 (emphasis in original). This language stands in contrast to

Levesque:

      We vacate the district court’s forfeiture decision and remand for further
      consideration consistent with this opinion.

Levesque, 546 F.3d at 85 (emphasis in original).

      The Court views the differences in language between these two mandates as

requiring different actions upon remand. In Fogg, the First Circuit concluded that

the Court committed a legal error by failing to impose a $264,000 forfeiture against

Mr. Fogg, reversed the Court’s decision to issue the final forfeiture order, and

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directed the Court to issue the final order. In Levesque, the First Circuit concluded

that the Court had committed a legal error by imposing a $3,068,000 forfeiture

against Ms. Levesque, but was unable to determine as a matter of law what

forfeiture amount, if any, would not violate the Eighth Amendment prohibition

against excessive fines, and directed the Court to make further inquiry.

       The First Circuit minced no words in its conclusion that the Court committed

multiple errors of law in declining to issue the final order of forfeiture:

       [T]he court did not correctly apply Levesque and committed other errors.
       Among them were: first, basing its forfeiture decision on Fogg’s inability to
       pay; second, placing the burden on the government to prove that he could
       pay; and third, overlooking the fact that defendant had made no Eighth
       Amendment argument, no Levesque argument, and had presented no
       evidence that the forfeiture order would deprive him of his livelihood.

Id. at 19. The First Circuit expounded on the Court’s mistakes. First, the Court

should not have raised the Levesque issue at all, because Mr. Fogg himself did not

raise it. Id. Second, the Court “misconstrued Levesque” and “purported to apply

Levesque” but failed to “hew[] to the analytic framework drawn in Heldeman1” and

“never reached the actual inquiry under Levesque of whether Fogg’s post-

incarceration livelihood would be imperiled by the forfeiture.” Id. Third, the Court

“compounded” its error by “requiring the government to shoulder the burden of

proving that Fogg could pay a forfeiture judgment.”          Id. at 19-20 (emphasis in

original). As the First Circuit ruled that the Court erred in raising the issue at all,

it would be odd to allow Mr. Fogg to do now what should not have been done at the

sentencing hearing.


1 United States v. Heldeman, 402 F.3d 220 (1st Cir. 2005).


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       Furthermore, in the context of this case, Mr. Fogg had an opportunity to

challenge the amount of the forfeiture both at the Government’s motion for

preliminary order and at the sentencing hearing but he did not do so. While Mr.

Fogg objected to the preliminary order, he did not object to the amount.         Def.

Raymond Fogg’s Opp’n to the Gov’t’s Mot. for a Prelim. Order of Forfeiture (Docket #

485). Similarly, at the sentencing hearing, as the First Circuit pointed out, Mr.

Fogg made no objection to the amount of the proposed forfeiture. See Fogg, 666

F.3d at 18.   Finally, the structure of Rule 32.2 suggests that if Mr. Fogg wished to

contest the amount of the forfeiture, he should have done so when the Government

moved for a preliminary order. FED. R. CRIM. P. 32.2(a), (b).

III.   CONCLUSION

       The Court concludes that the First Circuit’s remand order requires the Court

to enter a final judgment of forfeiture without further proceedings and the Court

will do so.

       SO ORDERED.




                                 /s/ John A. Woodcock, Jr.
                                 JOHN A. WOODCOCK, JR.
                                 CHIEF UNITED STATES DISTRICT JUDGE

Dated this 2nd day of March, 2012




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